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                    Document         1 Filed
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                    Document         1 Filed
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 Case1:33-av-00001
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                    Document         1 Filed
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                    Document         1 Filed
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                                                              of 6 PageID: 5
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                    Document         1 Filed
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